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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


FABIO JAVIER CAICEDO-GUTIERREZ,

       Petitioner,

v.                                                       CASE NO: 8:08-CV-474-T-30TBM
                                                            Crim. Case No: 8:04-CR-374-T-30TBM
UNITED STATES OF AMERICA,

      Respondent.
____________________________________/


                                           ORDER

       THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence Pursuant to 28 U.S.C. §2255 (CV Dkt. #1) filed on March12, 2008, the

Government’s Response thereto (CV Dkt. #6), and the Petitioner’s Reply thereto (CV Dkt.

#7). The Court has undertaken a preliminary review of the motion and documents in support

and the prior proceedings in the underlying criminal case1 as required by Rule 4 of the Rules

Governing §2255 Proceedings for the United States District Courts. After doing so, the

Court concludes that this motion is due to be summarily denied without an evidentiary

hearing because it plainly appears from the face of the motion and the prior criminal

proceedings that Petitioner is entitled to no relief.




       1
           See case number 8:04-Cr-374-T-30TBM.
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                                       BACKGROUND

       Petitioner, Fabio Javier Caicedo-Gutierrez (hereinafter referred to as “Caicedo-

Gutierrez” or “Petitioner”), was indicted by a federal grand jury on September 9, 2004 and

charged with: (1) conspiracy to import into the United States, from places outside thereof,

five kilograms or more of cocaine, in violation of Title 21, United States Code, Sections

952(a), 963 and 960(b)(1)(B)(ii), (2) conspiracy to manufacture and distribute five kilograms

or more of cocaine, knowing and intending that such substance would be unlawfully

imported into the United States, in violation of Title 21, United States Code, Sections 959,

963, and 960(b)(1)(B)(ii), and (3) conspiracy to possess with intent to distribute five

kilograms or more of cocaine while onboard a vessel subject to the jurisdiction of the United

States, in violation of Title 46, United States Code Appendix, Sections 1903(a),(g), and (j)

and 960(b)(1)(B)(ii).2

       On March 16, 2006, Petitioner pled guilty to Count One of the Indictment pursuant

to his plea agreement and this Court dismissed the remaining counts at sentencing.3 At the

plea hearing, Magistrate Judge McCoun advised Caicedo-Gutierrez of the charge to which

he was pleading guilty (CR Dkt. #214 at 12-13), the penalties he was facing–including a

statutory minimum of ten years imprisonment (id. at 13), the rights he was waiving (id. at 15-

17, 25-27), and the essential elements of the offense (id at 15-16, 39-40). Throughout the

hearing Petitioner stated that he understood the charges and penalties (id. at 14), the

       2
        See CR Dkt. #1 at 2-5.
       3
        See CR Dkt. #214 at 14; CR Dkt. # 156.

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consequences of giving up his rights in order to plea (id. at 17, 27), the potential benefits the

plea agreement afforded him (id at 18-21) and how this Court would fashion his sentence (id.

At 21-25). Caicedo-Gutierrez also acknowledged that someone read him the plea agreement

in Spanish, he understood it, and nothing concerning the plea confused him.4 Petitioner also

admitted that he was not promised anything outside of the plea agreement, forced, or tricked

in any way to plead guilty, and he was satisfied with his lawyer.5 Petitioner also agreed with

the factual basis set out in the plea except for the presence of weapons during the course of

the conspiracy during his involvement.6 After pleading guilty, Caicedo-Gutierrez was

sentenced to 108 months imprisonment followed by a three-year term of supervised release.7

       Petitioner appealed his sentence to the Eleventh Circuit Court of Appeal which

affirmed this Court’s disposition of the case on May 30, 2007.8 Petitioner did not challenge

the Eleventh Circuit’s judgment and now brings this § 2255 motion to set aside his sentence.

                                          Discussion

       In particular, Petitioner claims ineffective assistance of counsel due to counsel’s

previous representation of a trial witness; failing to obtain a sentence involving the “least

time possible” based on cooperation (Ground One); and failing to obtain a sentence reflecting


       4
        See CR Dkt. #214 at 39-40.
       5
        Id. at 27-28.
       6
        Id. at 28-36.
       7
        See CR Dkt. #218 at 7.
       8
        See CR Dkt. #298.

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“minimum participation” based on his cooperation and in relation to his co-defendant’s

sentences (Ground Two). Caicedo-Gutierrez also claims that his constitutional rights were

violated because he never knew the terms of his plea agreement when he signed it; the

government questioned him without his lawyer despite his request that his lawyer be present

(Ground Three), his counsel represented another defendant, and the government failed to

properly recognize his substantial assistance efforts (Ground Four).9

       To vacate a sentence for ineffective assistance of counsel, counsel’s performance must

fall below an objective standard of reasonable professional assistance and the defendant must

be prejudiced by the deficient performance.10 The burden is on the Petitioner to prove both

that counsel’s performance was unreasonable and that he was prejudiced.11 Caicedo-

Gutierrez claims his counsel was constitutionally ineffective for failing to raise a challenge

concerning his substantial assistance efforts, to challenge his role in the offense, and by

counsel’s previous representation of another defendant.12

       Petitioner’s allegations that counsel was ineffective due to his previous representation

of a witness that was “testifying against” Caicedo-Gutierrez (Ground One) and representation

of an adverse co-defendant (Ground Four) are factually false.13 Petitioner identified “Alonso


       9
        See CV Dkt. #1.
       10
           Strickland v. Washington, 466 U.S. 668, 688 (1984).
       11
           Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir. 2000).
       12
           See CV Dkt. #1 at 4-8.
       13
           Id. at 5,9.

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Mesa” as the adverse trial witness and co-defendant.14 Petitioner’s attorney did previously

represent “Alonso Mesa” in an unrelated case titled United States v. Alsonso Eduardo Mesa

Morales, Criminal No. 8:04-cr-607-T-17MAP. However, “Alonso Mesa” was not a co-

defendant in Petitioner’s case and nothing in the record suggests that “Alonso Mesa”

testified or would testify against Petitioner. Thus, this claim is unsupported by the record and

Petitioner has failed to state how he was prejudiced by this unfounded assertion.

       As to Caicedo-Gutierrez’s “substantial assistance” argument, he claims that his

counsel was ineffective in failing to obtain a sentence involving the “least time possible”

based on cooperation (Ground One) and that the government failed to properly recognize his

substantial assistance efforts at sentencing (Ground Four).15

       Prior resolution bars reconsideration of Petitioner’s substantial assistance argument.16

The record also contradicts these claims. At sentencing, this Court reduced Petitioner’s

guideline range by two levels, at the government’s request, based on his substantial

assistance efforts.17 Additionally, this Court dismissed Counts Two and Three of the

Indictment in recognition of Petitioner’s plea agreement with the government.18 This Court

also withdrew the firearm enhancement pursuant to Petitioner’s request and then departed


       14
        Id. at 5.
       15
        Id. at 5,9.
       16
        The Eleventh Circuit decided this issue when they rejected his appeal. See CR Dkt. #298.
       17
        See CR Dkt. #218 at 6.
       18
        See CR Dkt. #156.

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downward from the applicable 135-168 month range and sentenced Petitioner to 108 months

imprisonment.19 In light of these generous reductions, Petitioner fails to prove the second

prong necessary for relief under Strickland.

        At sentencing, this Court did not address a minor or minimal role argument because

counsel withdrew his motion for minor role.20 Caicedo-Gutierrez, however, agreed to this

strategy.21 Counsel’s failure to argue minor role was not in error, since Petitioner’s

involvement in the conspiracy did not constitute a minor role. Petitioner knowingly assisted

the conspiracy by performing many necessary errands associated with the success of the

cocaine-smuggling operation, including performing security details, transporting drug

currency, and delivering intelligence reports.22 Moreover, Petitioner was also heavily

involved with assisting the go-fast departures by providing locations and information

regarding refueling, conducting radio operations, providing security, and transporting

currency, cellular phones and travel tickets.23 Since this Court would not have granted

Petitioner a minor role reduction anyway, he has failed to meet the prejudice prong of

Strickland.




        19
         See CR Dkt. #218 at 5-7.
        20
         See CR Dkt.# 218 at 4.
        21
         Id. Counsel explicitly stated that he discussed this strategy with Petitioner and they agreed to
withdraw the minor role objection.
        22
         Id. at 32.
        23
         Id. at 32-33.

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       Petitioner’s additional claim that he did not know the terms of his plea agreement is

directly contradicted by the record.          During the plea hearing, Caicedo-Gutierrez

acknowledged under oath that an interpreter had read the plea agreement to him in Spanish,

that he understood the plea agreement, and that nothing about the plea agreement confused

him.24 He will not now be heard to argue to the contrary.

       Caicedo-Gutierrez’s claim that he was unconstitutionally questioned without an

attorney similarly provides him no relief. Petitioner does not allege with specificity when

this questioning occurred. The Government states that the questioning occurred after

Petitioner had pled guilty and with the consent of Petitioner’s attorney.25 Regardless, this

claim fails. When a defendant is questioned without an attorney after having requested one

his only remedy is the exclusion of any self-incriminating statements from the evidence used

against him.26 Petitioner pled guilty and never went to trial, thus, these statements were not

used against him and this claim does not entitle him to relief.

       Petitioner submitted a reply pleading on July 22, 2008, where he raised several

additional claims for relief.27 The Petitioner attempts to raise several additional arguments

in his reply to the government’s response. For example, Petitioner argued that: (1) the

District Court erred in calculating his sentencing guidelines by admitting hearsay evidence


       24
        Id. at 39-40.
       25
        See CV Dkt. #6 at 23.
       26
        Chavez v. Martinez, 538 U.S. 760, 790 (2003).
       27
        See CV Dkt. #7.

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and denying his minor role request, (2) he received ineffective counsel because his attorney

failed to argue or adequately investigate his involvement in the conspiracy, (3) his counsel

failed to compel the Government to limit his responsibility in the conspiracy and consider

his assistance, (4) his attorney threatened him into a plea agreement and referenced his family

as an inducement to get him to cooperate, (5) his attorney failed to raise the poor conditions

in Columbian prisons and the unnecessary delay in bringing him to the United States as

issues at sentencing, and (6) that the Government could not prove the elements of conspiracy

necessary to prove him guilty beyond a reasonable doubt.28

       These arguments were inappropriately raised since the government has not had an

opportunity to respond. Although this Court does not need to address these issues, it is

important to note that many of these allegations lack a factual predicate. For example,

Caicedo-Gutierrez explicitly acknowledged that he wasn’t forced or threatened in any way

to plead guilty.29 Petitioner also stated at the plea hearing that he had no complaints about

his attorney.30 Additionally, Petitioner’s argument that the government lacked the evidence

necessary to prove the elements of conspiracy beyond a reasonable doubt is contrary to his

signed plea agreement in which he stipulates to his knowing and willful activity in the

conspiracy, and to his sworn admission of the facts during both the plea and sentencing




       28
        Id.
       29
        See CR Dkt. #214 at 27.
       30
        Id.

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hearings.31

                                            CONCLUSION

           It is therefore ORDERED AND ADJUDGED that:

           1.         Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

U.S.C. §2255 (CV Dkt. #1) is DENIED.

           2.         The Clerk is to enter judgment for Respondent, United States of America,

terminate any pending motions, and close this case.

           3.         The Clerk is directed to terminate from pending status the motion to vacate

found at Dkt.#340, in the underlying criminal case, case number 8:04-CR-374-T-30TBM.

           DONE and ORDERED in Tampa, Florida on August 20, 2008.




Copies furnished to:
Counsel/Parties of Record
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           31
             See CV Dkt. #7 at 16, CV Dkt. #214 at 35, CV Dkt. #218 at 4.

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